            Case 2:06-cr-00192-JCC         Document 73       Filed 07/14/06     Page 1 of 2



1                                             THE HONORABLE JOHN C. COUGHENOUR
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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10   UNITED STATES OF AMERICA,                   )
                                                 )      CASE NO. CR06-0192C
11                         Plaintiff,            )
                                                 )      ORDER CONTINUING
12                 v.                            )      PRE-TRIAL MOTIONS CUTOFF
                                                 )      AND TRIAL DATE
13   ELIAS CASTANEDA GOMEZ,                      )
     SANDRA MIRANDA,                             )
14   REGINA HERNANDEZ VALDIVIA,                  )
     ALVIN LOUIS GLASS, and                      )
15   RAFAEL DIAZ LAUREANO,                       )
                                                 )
16                         Defendants.           )
                                                  )
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18          The Court having reviewed the stipulated motion by the parties to continue the
19   pre-trial motions cutoff and trial date (Dkt. No. 67) and having reviewed the records and
20   files herein makes the following findings and enters the following order:
21          1.     Additional time is needed for defense counsel to review the discovery in
22   this case. The government has advised that additional discovery is anticipated and will be
23   produced as soon as available.
24          2.     Additional time is needed for defense counsel and the government to meet
25   and confer regarding the possibility of a pre-trial resolution or to prepare for trial.
26          3.     Two of the defendants were arraigned on June 26, 2006, and have not had
27   sufficient time to review the evidence and prepare for trial.
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     ORDER CONTINUING TRIAL
     GOMEZ, et al.— 1                                                               UNITED STATES ATTORNEY
                                                                                     700 Stewart Street, Suite 5220
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
            Case 2:06-cr-00192-JCC         Document 73       Filed 07/14/06    Page 2 of 2



1           4.       The ends of justice outweigh the best interest of the public and the co-
2    defendants in a speedy trial. That failure to grant a continuance based upon the parties’
3    need to prepare the matter for trial would result in a miscarriage of justice.
4           5.   The government and defendants have requested and stipulated to a
5    continuance. Defendants must sign and file a written waiver of speedy trial that will be
6    filed with the Court no later than July 20, 2006.
7                    IT IS HEREBY ORDERED that the pretrial motions cutoff date is
8    continued to September 25, 2006.
9                    IT IS FURTHERED ORDERED that the trial date is continued from
10   July 24, 2006, to October 30, 2006.
11                   IT IS FURTHER ORDERED that pursuant to Title 18, United States Code,
12   Section 3161(h), the period of time from the current trial date to the new trial date, for all
13   defendants, is excluded in the computation of time under the Speedy Trial Act as this is a
14   reasonable period of delay.
15
            SO ORDERED this 14th day of July, 2006.




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                                                 UNITED STATES DISTRICT JUDGE
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     Presented by:
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23
     /s Patricia C. Lally
24   PATRICIA C. LALLY
     Assistant United States Attorney
25   WA Bar # 28910
26

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     ORDER CONTINUING TRIAL
     GOMEZ, et al.— 2                                                                 UNITED STATES ATTORNEY
                                                                                       700 Stewart Street, Suite 5220
                                                                                      Seattle, Washington 98101-1271
                                                                                               (206) 553-7970
